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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Michael J Brosnahan,                            No. CV-16-08277-PCT-DLR
10                 Plaintiff,                        ORDER
11   v.
12   Caliber Home Loans Incorporated, et al.,
13                 Defendants.
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16           Pro se Plaintiff Michael Brosnahan filed this action against Defendants Caliber
17   Home Loans Incorporated (Caliber), LSF9 Master Participation Trust (LSF9), and
18   Summit Service & Realty LLC (Summit) on November 22, 2016, alleging a single claim
19   under the Fair Debt Collections Practices Act (FDCPA) related to the initiation of a non-
20   judicial foreclosure of real property located at 21 Hummingbird Circle, Sedona, Arizona
21   86336-7012 (Property). (Doc. 1.) Also on November 22, 2016, Brosnahan filed an ex
22   parte Application for Emergency Temporary Restraining Order (TRO) to Stay the Sale of
23   Real Property. (Id.) The Court held an ex parte hearing that same day and denied
24   Brosnahan’s application after considering his verified complaint, new documents
25   submitted to the Court for the first time during the hearing, and Brosnahan’s oral
26   arguments. (Doc. 5.) This written order details the Court’s reasoning.
27           Under Federal Rule of Civil Procedure 65(b)(1):
28                 The court may issue a [TRO] without written or oral notice to
                   the adverse party or its attorney only if:
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 1                 (A) specific facts in an affidavit or a verified complaint
                   clearly show that immediate and irreparable injury, loss, or
 2                 damage will result to the movant before the adverse party can
                   be heard in opposition; and
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                   (B) the movant’s attorney certifies in writing any efforts made
 4                 to give notice and the reasons why it should not be required.
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     “[C]ourts have recognized very few circumstances justifying the issuance of an ex parte
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     TRO.” Reno Air Racing Ass’n, Inc. v. McCord, 452 F.3d 1126, 1131 (9th Cir. 2006).
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     For example, an ex parte TRO might be appropriate “where notice to the adverse party is
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     impossible either because the identity of the adverse party is unknown or because a
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     known party cannot be located in time for a hearing,” or where “notice to the defendant
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     would render fruitless the further prosecution of the action.” Id. (internal quotations and
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     citations omitted).
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            Brosnahan’s application is denied because he has not complied with Rule 65(b)(1).
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     Specifically, Brosnahan did not certify in writing the efforts he made to notify
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     Defendants of his TRO application and the reasons why notice should not be required.
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     Nor did he show during the ex parte hearing that notice to the Defendants should be
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     excused. According to Brosnahan’s verified complaint, the non-judicial foreclosure is
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     scheduled to occur on November 23, 2016 at 11:30 a.m, and Defendants noticed the non-
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     judicial foreclosure on August 24, 2016. (Doc. 1 at 2.) Despite three months’ notice,
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     Brosnahan waited until the day before the non-judicial foreclosure to file his ex parte
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     TRO application.
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            Moreover, Arizona law provides that persons who receive notice of a non-judicial
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     foreclosure “shall waive all defenses and objections . . . not raised in an action that results
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     in the issuance of a court order granting [preliminary injunction relief] entered before
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     5:00 p.m. . . . on the last business day before the schedule date of the sale.” A.R.S. § 33-
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     811(C). Brosnahan waited until mere hours before this statutory deadline to file his
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     request and has not offered a satisfactory explanation for his delay, which militates
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     against the issuance of a TRO. See Rosal v. First Fed. Bank of Cal., No. C 09-1276 PJH,
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     2009 WL 837570, at *2 (N.C. Cal. 2009).


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 1          Aside from his failure to notify Defendants of his request, Brosnahan also has not
 2   shown that a TRO is appropriate. The standard for issuing a TRO is identical to the
 3   standard for issuing a preliminary injunction.        Whitman v. Hawaiian Tug & Barge
 4   Corp./Young Bros., Ltd. Salaried Pension Plan, 27 F. Supp. 2d 1225, 1228 (D. Haw.
 5   1998). A plaintiff seeking a preliminary injunction must establish that he is likely to
 6   succeed on the merits, that he is likely to suffer irreparable harm in the absence of
 7   preliminary relief, that the balance of equities tips in his favor, and that an injunction is in
 8   the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008);
 9   Am. Trucking Ass’n, Inc. v. City of L.A., 559 F.3d 1046, 1052 (9th Cir. 2009). These
10   elements are balanced on a sliding scale, whereby a stronger showing of one element may
11   offset a weaker showing of another. See Alliance for the Wild Rockies v. Cottrell, 632 F.
12   3d 1127, 1131, 1134-35 (9th Cir. 2011). However, the sliding-scale approach does not
13   relieve the movant of the burden to satisfy all four prongs for the issuance of a
14   preliminary injunction. Id. at 1135. Instead, “‘serious questions going to the merits’ and
15   a balance of hardships that tips sharply towards the plaintiff can support issuance of a
16   preliminary injunction, so long as the plaintiff also shows that there is a likelihood of
17   irreparable injury and that the injunction is in the public interest.” Id. at 1135. The
18   movant bears the burden of proof on each element of the test.               Envtl. Council of
19   Sacramento v. Slater, 184 F. Supp. 2d 1016, 1027 (E.D. Cal. 2000).
20          Although Brosnahan has demonstrated a likelihood of irreparable harm in the
21   absence of preliminary relief, he has not carried his burden on the remaining
22   requirements for the issuance of a TRO.          First, Brosnahan has not demonstrated a
23   likelihood of success on the merits. His verified complaint is styled as an action to
24   enforce the Fair Debt Collection Practices Act (FDCPA). (Doc. 1.) “The FDCPA
25   subjects ‘debt collectors’ to civil damages for engaging in certain abusive practices while
26   attempting to collect debts.” Ho v. ReconTrust Co., NA, 840 F.3d 618 (9th Cir. 2016)
27   (citing 15 U.S.C. §§ 1692d-f, 1692k). A “debt collector” is:
28                 any person who uses any instrumentality of interstate
                   commerce or the mails in any business the principal purposes

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 1                 of which is the collection of any debts, or who regularly
                   collects or attempts to collect, directly or indirectly, debts
 2                 owed or due or asserted to be owed or due another.
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     15 U.S.C. § 1692a(6).        “[M]ortgagees and their beneficiaries, including mortgage
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     servicing companies, are not debt collectors subject to the FDCPA.” Mansour, Mansour
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     v. Cal-Western Reconveyance Corp., 618 F. Supp. 2d 1178, 1182 (D. Ariz. 2009) (citing
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     Perry v. Stewart Title Co., 756 F.2d 1197, 1208 (5th Cir. 1985)); see also De Dios v. Int’l
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     Realty & Invs., 641 F.3d 1071, 1075 n.3 (9th Cir. 2011) (“debt collector does not include
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     those ‘mortgage service companies and others who service outstanding debts or others, so
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     long as the debts were not in default when taken for servicing’” (quoting S. Rep. No. 95-
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     382 (1977)). Further, “actions taken to facilitate a non-judicial foreclosure, such as
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     sending the notice of default and notice of sale, are not attempts to collect ‘debt’ as that
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     term is defined by the FDCPA.” Ho, 840 F.3d 618.
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            Brosnahan makes a host of allegations against Defendants regarding the ownership
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     of his home loan. For example, Brosnahan alleges that:
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                          Caliber and its agents are violating the FDCPA
16                         through the “unlawful commencement of a non-
                           judicial foreclosure proceeding against [him] without
17                         the proper documentation and accounting.”
18                        Defendants “are no longer in possession of [his]
                           unaltered ‘Genuine Original Promissory Note’ and are
19                         refusing to return the Note in its unaltered form[.]”
20                        Defendants noticed a non-judicial foreclosure sale for
                           November 23, 2016 in an effort to “conceal the
21                         alterations to the original note[.]”
22                        His home loan “has been knowingly passed, without
                           ever being validated, from one company to the next in
23                         an attempt to conceal material facts and evidence[.]”
24                        Caliber and its agents filed forged documents and have
                           no “standing to foreclose.”
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26   (Doc. 1. at 3-4.)
27          Brosnahan’s allegations are conclusory and do not state a plausible claim to relief
28   under the FDCPA. He does not specify the nature of Defendants’ abusive debt collection


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 1   practices. Although Brosnahan claims that he received “debt collector” communications
 2   from Defendants, he does not append these communications nor does he allege their
 3   contents. (Id. at 4.) To the extent Brosnahan’s complaint is based on actions taken by
 4   Defendants to facilitate the non-judicial foreclosure of the Property, these actions do not
 5   qualify as debt collection within the meaning of the FDCPA. Moreover, although the
 6   FDCPA provides for civil damages, Brosnahan cites no authority that alleged violations
 7   of the FDCPA give rise to a defense against non-judicial foreclosure.1
 8          Second, Brosnahan has not shown that the balance of hardships and the public
 9   interest favor preliminary relief. The verified complaint fails to state a claim that would
10   entitle Brosnahan to the relief he seeks. Brosnahan has not given Defendants fair notice
11   of this action, thereby depriving them of an opportunity to be heard. And, as previously
12   noted, Brosnahan’s long delay in seeking preliminary relief militates against the issuance
13   of a TRO.
14          Typically, movants request a TRO to maintain the status quo so that the Court may
15   schedule a hearing on a motion for preliminary injunction. Here, however, Brosnahan
16   has not filed a motion for preliminary injunction. Moreover, once the non-judicial
17   foreclosure sale occurs, Brosnahan’s requested relief will no longer be available. Under
18   these circumstances, it appears futile to schedule a preliminary injunction hearing.
19   Instead, Brosnahan is directed to serve Defendants with a copy of the summons and
20   complaint in accordance with the Federal Rules of Civil Procedure.
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               During the hearing, Brosnahan argued that his original lender had violated the
26   Truth in Lending Act (TILA), that he rescinded his loan in 2009, and that, as a result, no
     debt is owed on the Property. However, other than a passing reference to TILA and an
27   allegation that he “effectively rescinded the alleged loan” by mailing a Right to Cancel
     letter in 2009, (Doc. 1 at 5), Brosnahan’s verified complaint does not assert any claims
28   under TILA. Rather, his complaint explicitly raises claims only under the FDCPA. Nor
     did Brosnahan identify the alleged TILA violations during the ex parte TRO hearing.

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 2       IT IS ORDERED that Brosnahan’s ex parte Application for a TRO, (Doc. 1), is
 3   DENIED.
 4       Dated this 23rd day of November, 2016.
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 7                                         Douglas L. Rayes
                                           United States District Judge
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